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           October 12, 2021



           VIA ECF

           The Honorable Andrew L. Carter Jr.
           United States District Judge
           Thurgood Marshall United States Courthouse
           40 Foley Square
           New York, NY 10007

           Re:      Ferguson, et al. v. Ruane Cuniff & Goldfarb Inc., et al., No. 1:17-cv-06685

           Dear Judge Carter:

                  We represent the DST Defendants in this action.1 Pursuant to Your Honor’s
           Individual Practices, we write to request permission to file the Declaration of Jeffrey J.
           Recher and certain exhibits related to the DST Defendants’ Memorandum of Law in
           Response to the Arbitration Claimants’ Opposition to the DST Defendants’ Motion for a
           Preliminary Injunction (the “Response”) under seal.




           1
                 The “DST Defendants” are DST Systems, Inc., the Advisory Committee of the DST
                 Systems, Inc. 401(k) Profit Sharing Plan, and the Compensation Committee of the
                 Board of Directors of DST.
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The Honorable Andrew L. Carter Jr.                                                        2



       Certain exhibits we intend to submit in support of the Response contain
information related to arbitrations in which the DST Defendants are a party. Those
materials include:

       •   Emails from counsel for the arbitration claimants (“Arbitration Counsel”) to
           various arbitrators, (Recher Decl. Ex. A & Ex. C);

       •   Emails from Arbitration Counsel to Amie Chale, (Recher Decl. Ex. B &
           Ex. D); and

       •   An email from the AAA to counsel of record in the arbitrations, (Recher Decl.
           Ex. E).

        One of the arbitration agreements entered into by the parties provides that “[t]he
arbitration and hearing shall be confidential, but only to the extent allowed under
applicable law.” Out of an abundance of caution, the DST Defendants request that the
foregoing materials be filed under seal in order to protect the confidentiality interests of
the arbitration claimants, if any, in the contents of the arbitration-related materials.

       While a presumption of public access applies to judicial documents, namely,
documents relevant to the performance of the judicial function and useful in the judicial
process, the weight of the presumption is “governed by the role of the material at issue”
and the resulting value of such information to the public. See Lugosch v. Pyramid Co. of
Onondaga, 435 F.3d 110, 119 (2d Cir. 2006); United States v. Amodeo, 44 F.3d 141, 145
(2d Cir. 1995). Courts also must balance against the weight of the presumption any
countervailing factors, such as “the privacy interests of those resisting disclosure”—
including “the degree to which the subject matter is traditionally considered private rather
than public”—and the “nature and degree of injury” resulting from disclosure. See
Lugosch, 435 F.3d at 120; United States v. Amodeo, 71 F.3d 1044, 1050–51 (2d Cir.
1995).


                                        Respectfully submitted,
                                        /s/ Lewis R. Clayton
                                        Lewis R. Clayton


cc:    All Counsel of Record (by ECF Filing)
